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                      IN THE UNITED STATES DISTRICT COURTU R L E D
                      FOR THE EASTERN DISTRICT OF TEXA«ster n d1str<FctCofu?Jxas
                                   LUFKIN DIVISION
                                                                          JUL 0 8 M
UNITED STATES OF
                                              § No. 9:2ICR 2-0
                                              o         BY
v.



TOCCARA LOCKETT
aka TOCCARA MCKIND

                                      INDICTMENT

THE UNITED STATES GRAND JURY CHARGES:

                                        Count One

                                                  Violation: 18 U.S.C. 922(g)(1)
                                                  (Possession of a Firearm by a Prohibited
                                                  Person)

        On or about October 31, 2020, in the Eastern District of Texas, Toccara Lockett

aka Toccara McKind, defendant, did knowingly and unla fully possess in and affecting

interstate or foreign commerce, a firearm, to wit: a Glock 19X, 9-millimeter pistol

bearing serial number BHNP220, while knowing that he had been convicted of a crime

punishable by imprisonment for a term exceeding one year.

       In violation of 18 U.S.C. 922(g)(1).

          NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE
     Criminal Forfeiture Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)

        As a result of committing the felony offense in violation of 18 U.S.C. § 922(g)(1)

alleged in the indictment, Toccara Lockett aka Toccara McKind, defendant, shall

forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), any

property constituting, or derived from, proceeds obtained directly, or indirectly, as a

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result of the said violation, and any property used, or intended to be used in any manner

or part, to commit or to facilitate the commission of the said violation, including but not

limited to the following:

            1. ) One Glock 19X, 9-millimeter pistol bearing serial number BHNP220, and
            2. ) Any and all associated magazines, parts, and ammunition.


        By virtue of the commission of the offense alleged in this indictment, any and all

Interest the defendant has in the above-described property is vested in the United States

and hereby forfeited to the United States pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §

2461.



                                                  A TRUE BILL



                                                  GRAND JURY FOREPERSON


NICHOLAS J. GANJEI
ACTING U ITED STATES ATTORNEY


LAUREN GASTON                                     Date
Assistant United States Attorney




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                      IN THE UNITED STATES DISTRICT COU T
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 LUFKIN DIVISION

UNITED STATES OF AMERICA                       §
                                               §   No.9:21CR 0
V.                                             §
                                               §   Judge
TOCCARA LOCKETT                                §
aka TOCCARA MCKIND                             §
                                 NOTICE OF PENALTY

                                        Counts One

        Violation: 18 U.S.C. 922(g)(1)

        Penalty: Possession of a Firearm by a Prohibited Person

                      Imprisonment of not more than ten (10) years, a
                      fine not to exceed $250,000 or twice the
                      pecuniary gain to the defendant or loss to the
                      victim, or both imprisomnent and a fine; and a
                      term of supervised release of not more than
                      three (3) years. If the Court determines that the
                      defendant is an Armed Career Offender under
                       18 U.S.C. § 924(e), imprisonment of not less
                      than 15 years and not more than life, a fine not
                      to exceed $250,000 or twice the pecuniary gain
                      to the defendant or loss to the victim, or both; a
                      term of supervised release of not more than five
                      (5) years.



        Special Assessment: $ 100.00




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